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                                                      U.S. Department of Justice

                                                      Joshua S. Levy
                                                      First Assistant United States Attorney
                                                      District of Massachusetts


Main Reception: (617) 748-3100                        John Joseph Moakley United States Courthouse
                                                      1 Courthouse Way
                                                      Suite 9200
                                                      Boston, Massachusetts 02210

                                                      March 7, 2022

Carmine Lepore, Esq.
Lepore & Hochman, P.A.
One Sprague Street
Revere, MA 02151

       Re:      United States v. Vincent Caruso
                Criminal No. 21-CR-10312-DJC

Dear Attorney Lepore:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Vincent Caruso (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure (“Rule”) 11(c)(1)(C):

       1.       Change of Plea

        Defendant will plead guilty to Counts One, Two, Four and Five of the Indictment charging
the following crimes:

       •     Count One, Conspiracy to Manufacture, Distribute, and Possess with Intent to
             Distribute, Cocaine, Cocaine Base, 400 Grams or More of Fentanyl, and
             Methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(A)(vi);

       •     Count Two, Conspiracy to Use and Carry Firearm During and in Relation to, and
             Possess Firearm in Furtherance of, a Drug Trafficking Crime, in violation of 18 U.S.C.
             § 924(o);

       •     Count Four, Conspiracy to Interfere with Commerce by Robbery, in violation of 18
             U.S.C. § 1951(a); and

       •     Count Five, Money Laundering Conspiracy, in violation of 18 U.S.C. § 1956(h).

       Defendant will plead guilty to so much of Count Three of the Indictment as charges Use
and Carrying of Firearm During and in Relation to, and Possession of Firearm in Furtherance of a
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Drug Trafficking Crime, in violation of 18 U.S.C. § 924(c)(1)(A)(i).

        The Defendant will not plead guilty to so much of Count Three that alleges that “that at
least one of the firearms is a machinegun, as defined by 18 U.S.C. § 921(a)(23) and 26 U.S.C. §
5845(b).” The parties agree that the penalty set forth in 18 U.S.C. § 924(c)(1)(B)(ii) alleged in
Count Three will not apply.

        With the exception of the allegation in Count Three alleging “that at least one of the
firearms is a machinegun, as defined by 18 U.S.C. § 921(a)(23) and 26 U.S.C. § 5845(b),”
Defendant admits that Defendant committed the crimes specified in these counts and is in fact
guilty of each one.

       2.      Penalties

       Defendant faces the following mandatory minimum and maximum penalties:

       •    For Count One, alleging a violation of 21 U.S.C. § 846, pursuant to 21 U.S.C.
            § 841(b)(1)(A)(vi), a mandatory minimum sentence of at least 10 years and up to life
            in prison, a term of supervised release of at least 5 years and up to life, a fine of up to
            $10,000,000, a mandatory special assessment of $100, and forfeiture to the extent
            charged in the Indictment;

       •    For Count Two, alleging a violation of 18 U.S.C. § 924(o), because the charge alleges
            a machine gun, a period of incarceration of up to life in prison, a term of supervised
            release of up to 5 years, a fine of up to $250,000, a mandatory special assessment of
            $100, and forfeiture to the extent alleged in the Indictment;

       •    For Count Three, alleging a violation of 18 U.S.C. § 924(c)(1)(A)(i), a mandatory
            minimum sentence of at least 60 months and up to life in prison, the sentence for this
            count is to be served from and after the term of imprisonment imposed for Count One,
            a term of supervised release of up to 5 years, a fine of up to $250,000, a $100 special
            assessment, and forfeiture to the extent alleged in the Indictment;

       •    For Count Four, alleging a violation of 18 U.S.C. § 1951(a), a period of incarceration
            of up to 20 years in prison; a term of supervised release of up to 3 years; a fine of up to
            $250,000; a mandatory special assessment of $100; restitution; and forfeiture to the
            extent alleged in the Indictment; and

       •    For Count Five, alleging a violation of 18 U.S.C. § 1956(h), a period of incarceration
            of up to 20 years in prison, a term of years supervised release of up to 3 years, a fine of
            up to $500,000 or twice the value of the funds, a mandatory $100 special assessment,
            and forfeiture to the extent alleged in the Indictment.

       Defendant understands that, if Defendant is not a United States citizen by birth, pleading
guilty may affect Defendant’s immigration status. Defendant agrees to plead guilty regardless of


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any potential immigration consequences, even if Defendant’s plea results in being automatically
removed from the United States.

       3.      Rule 11(c)(1)(C) Plea

       In accordance with Rule 11(c)(1)(C), if the Court accepts this Plea Agreement, the Court
must include the agreed disposition in the judgment. If the Court rejects any part of this Plea
Agreement, the U.S. Attorney may void the agreement and/or Defendant may withdraw from it.
Defendant may not withdraw Defendant’s plea for any other reason.

        Should the U.S. Attorney void the agreement and/or Defendant moves to withdraw
Defendant’s guilty plea, Defendant agrees to waive any defenses based upon statute of limitations,
the constitutional protection against pre-indictment delay, and the Speedy Trial Act for all charges
that could have been brought as of the date of this Plea Agreement.

       4.      Sentencing Guidelines

       The parties agree, based on the following calculations, that Defendant’s total “Offense
Level” under the Guidelines is 36:

       (a)     Offense Level, Count One:

               1. Defendant’s base offense level is 36, because Defendant is responsible for at
                  least at least 12 kilograms but less than 36 kilograms of Fentanyl (USSG §
                  2D1.1(c)(2));1

               2. Defendant’s offense level is increased by 3, because the Defendant was a
                  manager or supervisor and the criminal activity involved five or more
                  participants or was otherwise extensive (USSG § 3B1.1(b)); and

               3. The Adjusted Offense Level for Count One is 39.

       (b)     Offense Level, Count Two:

               1. Defendant’s base offense level is 20, because Defendant was a prohibited
                  person at the time of the offense, and the offense involved a (I) semiautomatic
                  firearm that is capable of accepting a large capacity magazine or (II) firearm
                  that is described in 26 U.S.C. § 5845(a) (USSG § 2K2.1(a)(4)(B)(i));

1
  The Defendant’s offense level is not increased by 2 for possession of a dangerous weapon
(including a firearm) (USSG § 2D1.1(b)(1)), because the Defendant is charged in Count Two with
a violation of 18 U.S.C. § 924(c) relating to Count One. See USSG 2K2.4, cmt. 4 (“If a sentence
under this guideline is imposed in conjunction with a sentence for an underlying offense, do not
apply any specific offense characteristic for possession, brandishing, use, or discharge of an
explosive or firearm when determining the sentence for the underlying offense.”).


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      2. Defendant’s offense level is increased by 4, because the offense involved 8 to
         24 firearms (USSG § 2K2.1(b)(1)(B));

      3. Defendant’s offense level is increased by 4, because any firearm had an altered
         or obliterated serial number (USSG § 2K2.1(b)(4)(B));

      4. Defendant’s offense is increased by 4, because the Defendant used or possessed
         any firearm or ammunition in connection with another felony offense (USSG §
         2K2.1(b)(6)(B)); and

      5. The Offense Level for Count Three is 32.

(c)   Offense Level, Count Three:

      1. Defendant’s guideline sentence is the minimum term of imprisonment required
         by statute (USSG § 2K2.4(b)), which is 60 months from and after the term of
         imprisonment imposed for Count One. See 18 U.S.C. § 924(c)(1)(A), (D).

(d)   Offense Level, Count Four:

      1. Defendant’s base offense level is 20, because Defendant is responsible for a
         robbery (USSG § 2B3.1(a));

      2. Defendant’s offense level is increased by 4, because a dangerous weapon was
         otherwise used (USSG § 2B3.1(b)(2)(D);

      3. Defendant’s offense level is increased by 2, because the victim suffered bodily
         injury (USSG § 2B3.1(b)(3)(A)); and

      4. Defendant’s offense level is increased by 1 because the loss was more than
         $20,000 but not more than $95,000 (USSG § 2B3.1(b)(7)(B)).

      5. The Total Offense Level for Count Four is 27.

(e)   Offense Level Count Five:

      1. Defendant’s base offense level is 36, because that is the offense level for the
         underlying offense from which the laundered funds were derived (Count One),
         and (A) the defendant committed the underlying offense, and (B) the offense
         level for that offense can be determined (USSG § 2S1.1(a)(1));

      2. Defendant’s offense level is increased by 2, because Defendant was convicted
         under 18 U.S.C. § 1956, and the object of the conspiracy entailed violation of
         18 U.S.C. § 1956.



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               3. The Total Offense Level for Count Five is 38

       (f)     Grouping

               Pursuant to USSG § 3D1.2(b) & (c), Count One, Count Two, and Count Five are
       closely related (Group One). Pursuant to USSG § 3D1.3(a), the offense level applicable to
       the Group is the offense level for the most serious of the counts comprising the Group.

               Count Three is not subject to the grouping rules. See USSG § 2K2.4(b) (“if the
       defendant, whether or not convicted of another crime, was convicted of violating section
       924(c) or section 929(a) of title 18, United States Code, the guideline sentence is the
       minimum term of imprisonment required by statute. Chapters Three and Four shall not
       apply to that count of conviction.”).

              Count Four is not closely related to Count One, Count Two, and Count Five.
       Therefore, Count Four comprises a separate group (Group Two).

              The Adjusted Offense Level for Group One is 39. The Offense Level for Group
       Two is 27. The Offense Level of Group One is more than nine levels greater than Group
       Two. Therefore, Group One comprises one Unit, and Group Two comprises zero Units.
       See USSG § 3D1.4(c) (“Disregard any Group that is 9 or more levels less serious than the
       Group with the highest offense level.”).

               Accordingly, the Offense Level for Count One is the most serious and the
       Defendant’s Total Adjusted Offense Level after applying the grouping guideline is
       therefore 39.

       (f)     Acceptance of Responsibility

              Based on Defendant's prompt acceptance of personal responsibility for the offense
       of conviction in this case, the U.S. Attorney agrees to recommend that the Court reduce
       Defendant's Total Adjusted Offense Level by 3 levels under USSG § 3E1.1.

       Defendant understands that the Court is not required to follow this calculation. Defendant
also understands that the government will object to any reduction in Defendant’s sentence based
on acceptance of responsibility, and may be released from the parties’ agreed-upon disposition in
Paragraph 5 if: (a) at sentencing, Defendant (directly or through counsel) indicates that Defendant
does not fully accept responsibility for having engaged in the conduct underlying each of the
elements of the crimes to which Defendant is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       5.      Agreed Disposition



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       The parties agree on the following sentence:

               a) incarceration for between 180 and 270 months;

               b) no fine;

               c) 60 months of supervised release;

               d) a mandatory special assessment of $500, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing;

               e) no restitution; and

               f) forfeiture as set forth in Paragraph 7.

       Subject to the sentencing range set forth above under Fed. Crim. P. 11(c)(1)(C), the
government agrees to recommend a sentence at the low-end of the applicable guidelines sentencing
range as calculated by the parties in paragraph 4.

       The parties understand that, upon acceptance of this Plea Agreement by the Court, and
sentencing of the Defendant to at least 180 months of incarceration, the Essex District Attorney
has agreed to dismiss Essex Superior Court, Docket No. 2077CR00071, and Salem District Court,
Docket No. 2136CR000401. The parties agree that the conduct charged in Essex Superior Court,
Docket No. 2077CR00071, and Salem District Court, Docket No. 2136CR000401 is relevant
conduct to the offenses charged in the Indictment.

        The parties agree that the time for which the Defendant was held in official detention for
the cases charged in Lynn District Court, Docket No. 2013CR00162, Lynn District Court, Docket
No. 2013CR001236, and Essex Superior Court, Docket No. 2077CR00071, relate to offenses for
which the Defendant is charged in the Indictment, and constitutes creditable time served. See 18
U.S.C. § 3585(b). The parties agree that the time has not been credited against another sentence.

       6.      Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge Defendant’s conviction and sentence on “direct
appeal.” This means that Defendant has the right to ask a higher court (the “appeals court”) to look
at what happened in this case and, if the appeals court finds that the trial court or the parties made
certain mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant
has the right to file a separate civil lawsuit claiming that serious mistakes were made in this case
and that Defendant’s conviction or sentence should be overturned.

       Defendant understands that Defendant has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

               a) Defendant will not challenge Defendant’s conviction on direct appeal or in any
                  other proceeding, including in a separate civil lawsuit; and


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               b) Defendant will not challenge Defendant’s sentence, including any court orders
                  related to forfeiture, restitution, fines or supervised release, on direct appeal or
                  in any other proceeding, including in a separate civil lawsuit.

        The U.S. Attorney agrees not to appeal the imposition of a sentence within the range agreed
to by the parties in paragraph 5.

        Defendant understands that, by agreeing to the above, Defendant is agreeing that
Defendant’s conviction and sentence will be final when the Court issues a written judgment after
the sentencing hearing in this case. That is, after the Court issues a written judgment, Defendant
will lose the right to appeal or otherwise challenge Defendant’s conviction and sentence regardless
of whether Defendant later changes Defendant’s mind or finds new information that would have
led Defendant not to agree to give up these rights in the first place.

       Defendant is agreeing to give up these rights in exchange for concessions the U.S. Attorney
is making in this Agreement.

        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that Defendant’s lawyer rendered ineffective assistance of counsel, or that the prosecutor or
a member of law enforcement involved in the case engaged in misconduct serious enough to entitle
Defendant to have Defendant’s conviction or sentence overturned.

       7.      Forfeiture

        Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

       The assets to be forfeited specifically include, without limitation, the following:

        I. Assets seized on June 30, 2021:
              a. two medallions;
              b. one gold colored Rolex watch;
              c. one Audemar watch;
              d. a Glock 36, .45 caliber pistol, bearing serial number BGHT946;
              e. a Taurus PT145 handgun;
              f. a Smith & Wesson .357 revolver bearing serial number 17548;
              g. a Glock 43 caliber 9mm firearm, bearing serial number ADYB131;
              h. a Ruger Red Redhawk 44 Magnum Sig Shot bearing serial number 50404788;
              i. a Glock 17, Gen 4, 9mm firearm;
              j. a Glock 30, .40 caliber firearm with magazine and bullets;
              k. a 12 gauge sawed off shotgun, bearing serial number H553071;


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         l. a Marlin No. 44 firearm;
         m. assorted ammunition and firearm accessories, including:
                 i. a .40 caliber handgun magazine with six rounds of ammunition;
                ii. a large capacity pro magazine with ammunition;
              iii. a 9 mm magazine;
               iv.  a magazine and ammunition;
                v.  two filled drum magazines and one unfilled magazine’
               vi.  a magazine for Taurus PT145 with six rounds of .45 caliber
                    ammunition;
              vii.  three .357 magnum rounds;
             viii. one 9 mm Luger round;
               ix.  one .45 caliber Winchester round;
                x.  a loaded .45 caliber magazine;
               xi.  a loaded 9 mm extended magazine;
              xii.  one 8 mm Luger round;
             xiii. a .45 caliber ACP magazine; and
             xiv.   assorted .45 caliber ACP and .44 Magnum ammunition;
         n. $941 in United States currency;
         o. $8,500 in United States currency;
         p. $34,850 in United States currency;
         q. $33,702 in United States currency;
         r. $646 in United States currency;
         s. one PASEK key;
         t. a Yamaha Banshee 350 ATV, seized in Salem, MA;
         u. a Custom ATV, seized in Salem, MA;
         v. a Kawasaki KX85 dirt bike, seized in Salem, MA; and
         w. assorted electronics, including:
                 i. two midnight blue Apple iPhones;
                ii. one SanDisk ultra PLUS SD 64 GB card;
              iii. one red and black SanDisk Cruzer Blade 16GB USB;
               iv.  one black Samsung smartphone;
                v.  one silver iLok USB, bearing serial number 002B9A88;
               vi.  one Dell laptop, bearing serial number 97F7M13;
              vii.  one HP laptop bearing serial number CND6235369;
             viii. one rose colored iPhone, model number A1549;
               ix.  one white Samsung tablet; and
                x.  one Lenovo tablet bearing serial number HAOKPQBM.
 II. Assets seized on May 8, 2018 in Danvers, MA:
         a. $33,585 in United States currency.
III. Assets seized on June 18, 2020 in Salem, MA:
         a. $3,669 in United States currency; and
         b. $61,700 in United States currency.



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        Defendant admits that these assets are subject to forfeiture on the grounds that they
constitute, or are derived from, proceeds of Defendant’s offenses, they were used to facilitate
Defendant’s offenses, and/or they were involved in Defendant’s offenses. Defendant agrees to
consent to the entry of orders of forfeiture for such property and waives the requirements of Federal
Rules of Criminal Procedure 11(b)(1)(J), 32.2, and 43(a) regarding notice of the forfeiture in the
charging instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment. Defendant
understands and agrees that forfeiture shall not satisfy or affect any fine, lien, penalty, restitution,
cost of imprisonment, tax liability or any other debt owed to the United States.

        Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding.

        If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office.

        Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.

        Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

       8.       Civil Liability

       This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant’s criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

       9.       Breach of Plea Agreement

        Defendant understands that if Defendant breaches any provision of this Agreement,
violates any condition of Defendant’s pre-trial release or commits any crime following


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Defendant’s execution of this Plea Agreement, Defendant cannot rely upon such conduct to
withdraw Defendant’s guilty plea. Defendant’s conduct, however, would give the U.S. Attorney
the right to be released from the U.S. Attorney’s commitments under this Agreement, to pursue
any charges that were, or are to be, dismissed under this Agreement, and to use against Defendant
any of Defendant’s statements, and any information or materials Defendant provided to the
government during investigation or prosecution of Defendant’s case—even if the parties had
entered any earlier written or oral agreements or understandings about this issue.

        Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring
before the date of this Agreement.

       10.     Who is Bound by Plea Agreement

         This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

       11.     Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

                                        *        *      *




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       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Philip A. Mallard.


                                                 Sincerely,

                                                 JOSHUA S. LEVY
                                                 First Assistant United States Attorney


                                     By:
                                                Timothy E. Moran
                                                Chief, Organized Crime and Gang Unit
                                                Michael Crowley
                                                Deputy Chief, Organized Crime and Gang Unit



                                                 Philip A. Mallard
                                                 Assistant U.S. Attorney




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